                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE




 UNITED STATES OF AMERICA                                )
                                                         )
 v.                                                      )      No. 3:05-CR-32
                                                         )      (Phillips)
 JEREMY ROBBINS,                                         )
 DIANE SHANDS ROBBINS, and                               )
 VAIRAME TEDESCO                                         )



                                          ORDER

              On June 16, 2006, the Honorable H. Bruce Guyton, United States Magistrate

 Judge, filed a 66-page Report and Recommendation (R&R) [Doc. 279] in which he

 recommended that defendants’ motions to suppress evidence and statements be denied.

 This matter is presently before the court on defendants’ timely objections to the R&R [see

 Doc. 281].



              As required by 28 U.S.C. § 636(b)(1), the court has now undertaken a de

 novo review of those portions of the R&R to which defendants object. After doing so, the

 court readily concludes that Judge Guyton has thoroughly and correctly analyzed the legal

 issues presented in defendants’ motions to suppress. Thus, any further comment by the

 court is unnecessary and would be repetitive. In sum, the court finds that (1) although the

 affidavit did not establish probable cause for the issuance of the search warrant of the

 Robbins’ residence, the officers’ reliance on the search warrant was reasonable under




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 United States v. Leon, 468 U.S. 897 (1984); (2) the agents’ failure to properly knock and

 announce does not serve as a basis to suppress the evidence obtained from the search

 of the Robbins’ residence; (3) the search warrant for the Robbins’ residence expressly

 authorized execution at night; (4) the officers’ seizure of items not specifically described in

 the search warrant does not justify suppression of all the evidence seized; (5) neither

 Jeremy Robbins nor Diane Robbins had a legitimate expectation of privacy in the residence

 at 8116 Hulls Mills Road to challenge the search of that residence; (6) the agents

 reasonably relied upon Ron Adams’ claim of authority to search the barn located on Tract

 12-A, and the scope of that search was permissible; (7) the statements made by Diane

 Robbins to the agents were voluntarily given; and (8) the statements made by Jeremy

 Robbins’ to Agent Lewis were voluntarily given.



               Accordingly, defendants’ objections [Doc. 281] are hereby OVERRULED in

 their entirety, whereby the R&R is ACCEPTED IN WHOLE. Thus, defendants’ motions to

 suppress evidence and statements [Docs. 92, 101, 115, 130, 210] are hereby DENIED.



               IT IS SO ORDERED.



                                            ENTER:



                                                   s/ Thomas W. Phillips
                                                 United States District Judge


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